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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


ADAM KANUSZEWSKI and
ASHLEY KANUSZEWSKI as parent
guardians and next friend to their minor
children D.W.L., R.F.K., and C.K.K.;           Case. No. 18-10472-TLL-PTM
SHANNON LAPORTE as parent-
guardian and next friend to her minor          Honorable Thomas L. Ludington
children, M.T.L. and E.M.O.; and               Mag. Judge Patricia T. Morris
LYNETTE WIEGAND, as parent-
guardian and next friend to her minor
children, L.R.W., C.J.W, H.J.W., and
M.L.W.,

                   Plaintiffs.

v.

MICHIGAN DEPARTMENT OF
HEALTH AND HUMAN SERVICES;                       DEFENDANTS MICHIGAN
NICK LYONS, sued in his official and           NEONATAL BIOBANK, INC. AND
individual capacities; DR. SANDIP                DR. ANTIONIO YANCEY’S
SHAH, sued in his official and                        REPLY BRIEF
individual capacities; DR. SARAH
LYON-CALLO, sued in her official and
individual capacities; MARY KLEYN,
sued in her official and individual
capacities; MICHIGAN NEONATAL
BIOBANK, INC also known as
MICHIGAN NEONATAL
BIOREPOSITORY; DR. ANTONIO
YANCEY, sued in his official and
individual capacities,

                   Defendants.



                                            
 
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      Plaintiffs’ Response does nothing to undercut the fundamental fact that

Michigan’s newborn blood screening program is constitutional; that the Plaintiffs

lack standing as they have not alleged actual, non-speculative harm; and that the

two main cases Plaintiffs rely on to support their claim, Cruzan and Birchfield, do

not actually support their position. Further, while not dispositive, it is worth noting

that similar matters have been litigated previously in several different states, and

the courts, both state and federal, have come down in support of permitting

newborn blood screening as a valuable public health tool. Plaintiffs’ case should be

dismissed with prejudice.

      I.     PLAINTIFFS HAVE NOT REBUTTED THE ALLEGATION
             THAT THEY LACK STANDING

      As to the Biobank Defendants, Plaintiffs have failed to demonstrate

standing. The minor children in this case fall into three (3) distinct groups: those

born prior to 2010 and subject to MDHHS’s opt-out provisions regarding dried

blood spot (DBS) cards, those born after 2010 and subject to the opt-in

requirements who have opted-in, and those born after 2010 and subject to the opt-

in requirements who have not opted in. Each group fails to show standing. As the

Motion to Dismiss filed by the State Defendants shows, at least some of the parents

of the minor children opted in to allowing the DBS cards to be used for research.

They have waived a claim for ongoing harm. For all groups, there is no threat of



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ongoing harm and no allegation in the First Amended Complaint that the Parents

have attempted to have the DBS cards destroyed and been rebuffed.

      As Plaintiffs’ First Amended Complaint points out in Exhibit B, MDHHS

policy reads in relevant part:

          Parents, legal guardians of, and/or persons from whom the
          specimen was collected after reaching the age of majority, may
          request that their specimen not be used for any research, by
          contacting DCH by telephone or mail. Parents, legal guardians of,
          and/or persons from whom the specimen was collected after
          reaching the age of majority, may request that their specimen be
          destroyed …
          (Complaint, Ex. B, emphasis supplied).

Accordingly, there is a known process for having the DBS cards destroyed, but

Plaintiffs’ do not claim to have attempted to have the minor children’s DBS cards

destroyed, let alone had such a request denied.

      As noted by the U.S. District Court of the Western District of Texas in a

similar case,

      Plaintiffs’ alleged ongoing harm is the possible expropriation of their
      children’s previously taken blood by its release to third parties and
      those third parties’ retention and use of the blood specimens. … But
      there is no allegation that, at the time Plaintiffs filed this suit, they had
      even requested information about the fate of their children’s blood
      specimens, much less that they had done so and were refused. Nor had
      they requested that the blood specimens be destroyed and been
      informed that this was not possible due to their release to third parties.
      Thus, their informational claims were not ripe at the time they filed
      suit and/or they lacked standing because they had suffered no injury in
      fact with regard to the denial of information or the denial of a request
      for destruction.


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      Higgins v. Tex. Dep’t of Health Servs., 801 F.Supp.2d 541 (W.D. Tex,
      2011). See also, Doe v. Adams, 53 N.E.3d 483, (Ind. 2016) (upholding
      trial court’s dismissal of Plaintiff’s claim for lack of standing when
      the only harm was fear of potential misuses of DBS cards) (Ex. 1).

In this case, much as in Higgins, there is no ongoing future harm, there is no

injury, and therefore there is no standing.

      II.    CRUZAN DOES NOT SUPPORT PLAINTIFFS’ POSITION

      Plaintiff takes the position that Cruzan v Dir., Mo. Dep’t of Health, 497 U.S.

261 (1990) supports their contention that Michigan’s newborn screening program

violates their civil rights. Cruzan does not support this position. Cruzan stated that

“[t]he principle that a competent person has a constitutionally protected liberty

interest in refusing unwanted medical treatment may be inferred from our prior

decisions”, but in the next sentence it upheld Jacobson v. Massachusetts, noting

that “the Court balanced an individual’s liberty interest in declining an unwanted

smallpox vaccine against the State’s interest in preventing disease.” Cruzan, at

278. As Cruzan itself noted, “determining that a person has a ‘liberty’ interest’

under the Due Process Clause does not end the inquiry; ‘whether respondent’s

constitutional rights have been violated must be determined by balancing his

liberty interest against the relevant state interests.’” Cruzan, at 279.  

      The blood draws taken from newborns to screen for congenital disease or

disorders is recognized as a valid governmental concern. As even the Plaintiffs

admit, only five or six drops of blood are drawn, and once the blood is drawn, the
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infants are screened for over 50 congenital conditions. This is performed by “A

health professional in charge of the care of a newborn infant or, if none, the health

professional in charge at the birth of an infant.” MCL 333.5431(1). If the results of

a test comes back “positive, the results shall be reported to the infant’s parents,

guardian, or person in loco parentis.” MCL 333.5431(3). The infant’s parents can

then determine what course of action to take regarding the infant’s health. The

statute does not mandate any course of treatment, and thus does not run afoul of

Cruzan or any other law regarding the right to self-determination.

      III.   INFORMED CONSENT IS NOT REQUIRED TO DRAW
             BLOOD FOR NEWBORN SCREENING

      “In Michigan, the common law prevails except as abrogated by the

Constitution, the Legislature, or this Court. Mich. Const. 1963, Art. 3, §7; People v

Aaron, 409 Mich 672, 722-723; 299 NW2d 304 (1980); People v Duffield, 387

Mich 300, 308; 197 NW2d 25 (1972).” People v Stevenson, 416 Mich 383 (1982).

Similarly, Michigan recognizes and adheres to the common-law right to be free

from nonconsensual physical invasions and the corollary doctrine of informed

consent. See, e.g., In re Rosebush, 195 Mich App 675 (1992). However, Michigan

law also holds that:

      It is axiomatic that the Legislature has the authority to abrogate
      the common law. Hoerstman Gen Contracting, Inc v Hahn, 474 Mich.
      66, 74; 711 N.W.2d 340 (2006). Further, if a statutory provision and
      the common law conflict, the common law must yield. Pulver v.


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      Dundee Cement Co, 445 Mich. 68, 75 n 8; 515 N.W.2d 728
      (1994). Accordingly, this Court has observed:

      In general, where comprehensive legislation prescribes in detail a
      course of conduct to pursue and the parties and things affected, and
      designates specific limitations and exceptions, the Legislature will be
      found to have intended that the statute supersede and replace
      the common law dealing with the subject matter. [Hoerstman Gen
      Contracting, supra at 74, quoting Millross v Plum Hollow Golf Club,
      429 Mich. 178, 183; 413 N.W.2d 17 (1987), citing 2A Sands,
      Sutherland Statutory Construction (4th ed), § 50.05, pp 440-441].
      Trentadue v. Gorton, 479 Mich. 378 (2007).

The Michigan Supreme Court has held that “[t]his Court has previously recognized

that the Legislature’s constitutional power to change the common law authorizes it

to extinguish common-law rights of action.” O'Brien v. Hazelet & Erdal, 410

Mich. 1 (1980).

      The law governing screening of newborns for chronic and congenital

conditions specifically states that informed consent is not required for the test,

abrogating that common-law requirement. MCL 333.5431(2) states: “The informed

consent requirements of sections 17020 and 17520 do not apply to the tests

required under subsection (1). The tests required under subsection (1) shall be

administered and reported within a time and under conditions prescribed by the

department. The department may require that the tests be performed by the

department.” MCL 333.5431(3). Thus, the Michigan state legislature has, as far as

newborn screening is concerned, abrogated the common-law requirement of

informed consent.
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      IV.    BIRCHFIELD IS NOT RELEVANT TO THIS CASE.

      Plaintiffs cite Birchfield v. North Dakota, 579 U.S. ___ (2016) to support

their claim that the drawing of blood from newborns is a Fourth Amendment

violation in the context of medical testing. Further, Plaintiffs express shock that

Birchfield was not even addressed in the Biobank’s original Motion to Dismiss.

The reason is simple: Birchfield deals with blood draws as searches incident to a

lawful arrest, a criminal procedure context. Birchfield is completely inapplicable to

this matter, and to the extent Plaintiffs have relied on it, they have done so out of

context to support their otherwise baseless position.

      All of the discussion of blood tests in Birchfield, including the language

Plaintiffs rely on regarding how they require piercing the skin, relates to the

criminal search context. The Birchfield decision also points out that “It is true, of

course, that people voluntarily submit to the taking of blood samples as part of a

physical examination and the process involves little pain or risk.” Birchfield at

***40. Birchfield mentions this to give the issue in question context and to point

out that blood draws are more invasive than blowing in a tube, i.e., the breath test

given to drunk drivers. The context surrounding Birchfield matters, and to ignore

the fact that Birchfield is a criminal case that holds exigent circumstances are

insufficient to permit a blood draw of a suspected drunk driver is to ignore the

limited import of that decision, for the sake of a soundbite.


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       V.    CONCLUSION

       Plaintiffs’ First Amended Complaint against Michigan Neonatal Biobank,

Inc. and Dr. Antonio Yancey fails as a matter of law and should be dismissed.

Plaintiffs’ Response does nothing to demonstrate that they have a valid cause of

action as a matter of law, and indeed, filings by the State indicate that not only do

the Plaintiffs’ not have a cause of action, the Parents were aware of the policy and

in some cases consented to the use of the dried bloods spots for research purposes.

Newborn screening is a valid exercise of the state’s public health authority and has

been upheld against multiple challenges to it nationwide. Plaintiffs themselves

acknowledge that the extent of the taking of blood from newborns is extremely

limited.

       For the reasons stated, the claims against MICHIGAN NEONATAL

BIOBANK, INC. and DR. ANTONIO YANCEY should be dismissed in their

entirety.

                                Respectfully Submitted,

                                PEAR SPERLING EGGAN & DANIELS, P.C.

Dated: July 26, 2018            BY:     /s/ Jeremy C. Kennedy
                                       Jeremy C. Kennedy (P64821)
                                       Attorneys for Defendant Michigan Neonatal
                                       BioBank, Inc. and Dr. Antonio Yancey in his
                                       professional capacity only




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                          CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2018, I caused the electronic filing of the
foregoing paper with the Clerk of the Court using the ECF system which will send
notification of such filing to all attorneys and parties who are on the list to receive
notifications for this case.

                                        /s/ Jeremy C. Kennedy
                                        Jeremy C. Kennedy (P64821)
                                        24 Frank Lloyd Wright Drive, Suite D-2000
                                        Ann Arbor, MI 48105
                                        (734) 665-4441
